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                                         #1381



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,     )
                              )
              Plaintiff,      )
                              )
vs.                           )                    CRIMINAL NO. 05-30086-20-GPM
                              )
BUENAVENTU ZUNIGA-BETANCOURT, )
                              )
              Defendant.      )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Buenaventu Zuniga-Betancourt

to Counts 1 and 7 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such

offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, August 28, 2006, at 9:30 a.m.

       IT IS SO ORDERED.

       DATED: 6/26/06


                                                   s/ G. Patrick Murphy
                                                   G. PATRICK MURPHY
                                                   Chief United States District Judge
